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                                         EXHIBIT F

        Schedule of Hours Worked and Aggregate Fees for Each Matter Category

    Matter
    Number                                       Total Billed
                    Matter Description                             Total Fees
                                                   Hours
3            [ALL] Automatic Stay                          0.2           $70.00

6            [ALL] Case Administration                    27.2        $8,396.50

11           [ALL] Exec. Contracts &                       0.5          $124.00
             Unexpired Leases

12           [ALL] Hearings                                3.5        $1,225.00

17           [ALL] Non-OEB Retention and                  30.7        $7,686.00
             Fee Applications

14           [ALL] OEB Retention and Fee                  68.0       $13,358.00
             Applications

21           [ALL] Plan and Disclosure                     8.2        $2,615.00
             Statements

9            [ALL] Contested Matters &                     0.3          $105.00
             Advers. Pro.

                         TOTAL                           138.6       $33,579.50
